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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

ALISA THOMPSON,

       Plaintiff,

v.                                                       Case No: 8:19-cv-642-MSS-SPF

BAYCARE HEALTH SYSTEMS,

       Defendant.


                    ORDER OF DISMISSAL WITHOUT PREJUDICE

       On February 10, 2020, the mediator filed a Mediation Report, informing the Court

that the above-captioned case was settled. (Dkt. 19) Therefore, it is hereby

       ORDERED that pursuant to Rule 3.08(b) of the Local Rules of the United States

District Court for the Middle District of Florida, this case is DISMISSED WITHOUT

PREJUDICE, subject to the right of the Parties, within sixty (60) calendar days from the

date of this Order, to submit a final stipulation of dismissal, should they so choose, or for

any party to reopen the case, upon good cause shown. After the sixty (60)-day period,

the dismissal shall be with prejudice. Any pending motions are DENIED as moot. The

Clerk is directed to CLOSE this case.

       DONE and ORDERED in Tampa, Florida, this 12th day of February, 2020.




Copies furnished to:
Counsel of Record
Any pro se party
